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UNITED STATES DISTRIC COURT
DISTRICT OF CONNECTICUT
------------------------------------x
PETER MALASZUK,                                           Civil Action   o. 14-CV-00908-RNC

                              Plaintiff,
                                                          STIPULATION A D ORDER OF
                                                          DISMISSAL WITH PREJUDICE
                      -against-

SYNAMON MANAGEMENT GROUP, LLC,
RAJ RAJARATNAM, and ASHA PABLA

                              Defendants.
------------------------------------x

         IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff and

Defendants, through their undersigned counsel, that the above-captioned action and any and all

claims that were or could have been asserted in this action are hereby dismissed in their entirety

with prejudice, and with no award of attorneys' fees or costs by the Court to any party.

Dated:    ew York, New York                          Dated: Greenwich Connecticut
         May 12,2015                                        May 12 2015

                                                     IVEY, BARNUM & O'MARA, LLC


                                                        SS'--..J"---- ~
By Matthew G. DeOreo, Esq.                           By tephen G. Walko E q.
Attorneys for Plaintiff                              Attorneys for D fendants
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SO ORDERED:



Hon. Robert   . Cbatigny


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